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                                              APPEAL NO. 24-142
                                 UNITED STATES COURT OF APPEALS
                                     FOR THE NINTH CIRCUIT
               PAM POE, by and through her parents and next friends Penny and Peter Poe, et al.,
                                                                                Plaintiffs-Appellees,
                                                       v.
               RAÚL LABRADOR, in official capacity as Attorney General of the State of Idaho, et al.,
                                                                             Defendants-Appellants.

                                On Appeal from the United States District Court
                                           for the District of Idaho
                                       Case No. 1:23-cv-00269-BLW

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                 RULE 27-3 EMERGENCY MOTION FOR STAY PENDING APPEAL

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